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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY


  IRA MALLORY,
  Plaintiff,

  vs.                                                        COMPLAINT

  OXFORD LAW, LLC,
  Defendant.


              Plaintiff, Ira Mallory (“MALLORY”), by way of Complaint against
        Defendant, Oxford Law, LLC (“OXFORD”), says:

                                I.   NATURE OF THE ACTION

              1.  This action stems from the Defendant’s violations of the Fair
        Debt Collection Practices Act (FDCPA), 15 U.S.C. § 1692 et seq.

                                         II.   PARTIES

              2.   MALLORY is a natural person.

              3. At all times relevant to the factual allegations of this Complaint,
        MALLORY was a citizen of the State of New Jersey, residing in Salem
        County, New Jersey.

              4.  At all times relevant to the factual allegations of this Complaint,
        OXFORD was a for-profit limited liability company of the Commonwealth
        of Pennsylvania registered as a foreign limited liability company with the
        State of New Jersey but having no physical location in this District.

              5.On information and belief, a principal business location of
        OXFORD is 311 Veterans Highway, Suite 100A, Levittown, PA 19056.




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                            III.   JURISDICTION AND VENUE

               Jurisdiction of this Court arises under 15 U.S.C. § 1692k(d) and
              6.
     28 U.S.C. § 1331.

               Venue is appropriate in this federal district pursuant to 28
              7.
     U.S.C. § 1391 because the events giving rise to MALLORY’s claims
     occurred within this federal judicial district, and because OXFORD
     regularly transacts business within this federal judicial district and,
     therefore, resides in the State of New Jersey within the meaning of 28
     U.S.C. § 1391(b) and (c).

        IV.   LEGAL BASIS FOR FAIR DEBT COLLECTION PRACTICES ACT CLAIMS

              8.The FDCPA simultaneously advances both consumer and
     business interests by protecting vulnerable consumers while promoting
     marketplace competition. 15 U.S.C. § 1692(e). Upon finding abundant
     evidence of abusive, deceptive, and unfair debt collection practices by
     many debt collectors which contributed to the number of personal
     bankruptcies, marital instability, loss of jobs, and invasions of individual
     privacy, Congress adopted the FDCPA with the “express purpose to
     eliminate abusive debt collection practices by debt collectors, and to
     insure that those debt collectors who refrain from using abusive debt
     collection practices are not competitively disadvantaged.” Jerman v.
     Carlisle, McNellie, Rini, Kramer & Ulrich LPA, 559 U.S. ___, 130 S. Ct. 1605,
     1623, 176 L. Ed. 2d 519 (2010) (internal quotes and ellipsis omitted;
     emphasis added); 15 U.S.C. § 1692(a).

              Congress also found that existing consumer protection laws
              9.
     were inadequate. 15 U.S.C. § 1692(b).

             10. “Congress recognized that ‘the vast majority of consumers who
     obtain credit fully intend to repay their debts. When default occurs, it is
     nearly always due to an unforeseen event such as unemployment,
     overextension, serious illness or marital difficulties or divorce.’” FTC v.
     Check Investors, Inc., 502 F.3d 159, 165 (3d Cir. 2007). Nevertheless, “‘[a]
     basic tenet of the Act is that all consumers, even those who have
     mismanaged their financial affairs resulting in default on their debt, deserve
     ‘the right to be treated in a reasonable and civil manner.’” FTC, supra, 502
     F.3d at 165 (emphasis added) quoting Bass v. Stolper, Koritzinsky, Brewster
     & Neider, S.C., 111 F.3d 1322, 1324 (7th Cir. 1997).

               “Congress also intended the FDCPA to be self-enforcing by
              11.
     private attorney generals [sic].” Weiss v. Regal Collections, 385 F.3d 337,


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     345 (3d Cir. 2004). “In order to prevail, it is not necessary for a plaintiff
     to show that she herself was confused by the communication she
     received; it is sufficient for a plaintiff to demonstrate that the least
     sophisticated consumer would be confused. In this way, the FDCPA enlists
     the efforts of sophisticated consumers like Jacobson as ‘private attorneys
     general’ to aid their less sophisticated counterparts, who are unlikely
     themselves to bring suit under the Act, but who are assumed by the Act to
     benefit from the deterrent effect of civil actions brought by others.”
     Jacobson v. Healthcare Fin. Svcs., Inc., 516 F.3d 85, 91 (2d Cir. 2008); and,
     see, Gonzales v. Arrow Fin. Svcs., LLC, 660 F.3d 1055 (9th Cir. 2011).

           12.  The FDCPA is construed broadly so as to effectuate its remedial
     purposes and a debt collector’s conduct is judged from the standpoint of
     the “least sophisticated consumer,” Brown v. Card Serv. Ctr, 464 F.3d 450,
     453n1 (3d Cir. 2006). “This standard is less demanding than one that
     inquires whether a particular debt collection communication would
     mislead or deceive a reasonable debtor.” Campuzano-Burgos v. Midland
     Credit Mgmt., Inc., 550 F.3d 294, 298 (3d Cir. 2008). In this way, “the
     FDCPA protects all consumers, the gullible as well as the shrewd.” Clomon
     v. Jackson, 988 F.2d 1314, 1318 (2d Cir. 1993). Thus, a “debt collection
     letter is deceptive where it can be reasonably read to have two or more
     different meanings, one of which is inaccurate.” Id. at 455.

           13.  Furthermore, except where the Act expressly makes knowledge
     or intent an element of the violation, the “FDCPA is a strict liability
     statute.” Allen ex rel. Martin v. LaSalle Bank, N.A., 629 F.3d 364, 368 (3d
     Cir. 2011) (citing, in footnote 7, supporting authorities from the Second,
     Seventh, Ninth and Eleventh Circuits).

           14.  “A debt collection letter on an attorney's letterhead conveys
     authority and credibility.” Crossley v. Lieberman, 868 F.2d 566, 570 (3d
     Cir. 1989). Consequently, “[a]buses by attorney debt collectors are more
     egregious than those of lay collectors because a consumer reacts with far
     more duress to an attorney’s improper threat of legal action than to a debt
     collection agency committing the same practice.” Id.

             15. The FDCPA creates no special exceptions for attorneys – even
     when that conduct falls within conduct traditionally performed only by
     attorneys. Heintz v. Jenkins, 514 U.S. 291 (1995). For example, there is no
     “litigation privilege” for debt collecting attorneys. Sayyed v. Wolpoff &
     Abramson, 485 F.3d 226 (4th Cir. 2007). “Attorneys who regularly engage
     in debt collection or debt collection litigation are covered by the FDCPA,
     and their litigation activities must comply with the requirements of that


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     Act.” Piper v. Portnoff Law Associates, 396 F.3d 227, 232 (3d Cir. 2005).

           16. To prohibit deceptive practices, the FDCPA, at 15 U.S.C.
     § 1692e, provides that a debt collector may not use any false, deceptive,
     or misleading representation or means in connection with the collection
     of any debt and, without limiting the generality of the prohibited
     conduct, enumerates sixteen acts and omissions which are deemed to be
     per se violations of that section. 15 U.S.C. § 1692e(1)-(16). That list
     includes:

           16.01.   Communicating from a law firm without meaningful
                    attorney involvement, 15 U.S.C. § 1692e(3);

           16.02.   Using any written communication which creates a false
                    impression as to its source, authorization, or approval, 15
                    U.S.C. § 1692e(9);

           16.03.   Using any false representation or deceptive means to collect
                    or attempt to collect any debt or to obtain information
                    concerning a consumer, 15 U.S.C. § 1692e(10); and

           16.04.   Failing to disclose in the initial communication with the
                    consumer that the debt collector is attempting to collect a
                    debt and that any information obtained will be used for that
                    purpose, and in subsequent communications that the
                    communication is from a debt collector, 15 U.S.C.
                    § 1692e(11).

           17.  Liability under the FDCPA arises upon the showing of a single
     violation. Taylor v. Perrin, Landry, deLaunay & Durand, 103 F.3d 1232,
     1238 (5th Cir. 1997); Bentley v. Great Lakes Collection Bureau, 6 F.3d 60,
     62-3 (2d Cir. 1993).

           18. Liability under the FDCPA is excused only when a debt collector
     establishes, as an affirmative defense, the illegal conduct was either “not
     intentional and resulted from a bona fide error notwithstanding the
     maintenance of procedures reasonably adapted to avoid any such error,”
     15 U.S.C. § 1692k(c), or an “act done or omitted in good faith in
     conformity with any advisory opinion of the” Consumer Financial
     Protection Board, 16 U.S.C. § 1692k(e). Thus, common law privileges and
     immunities are not available to absolve a debt collector from liability
     under the FDCPA. See, Heintz v. Jenkins, 514 U.S. 21, (1995); Allen ex rel.
     Martin v. LaSalle Bank, N.A., 629 F.3d 364, 369 (3rd Cir. 2011); and
     Sayyed v. Wolpoff & Abramson, 485 F. 3d 236, 232-233 (4th Cir. 2007).

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             19. A debt collector who violates any provision of the FDCPA is
     also liable for “additional damages” (also called “statutory damages”) up
     to $1,000.00, and attorney’s fees and costs. 15 U.S.C. § 1692k(a). The
     absence of actual damages is not a bar to such actions as “Congress may
     enact statutes creating legal rights, the invasion of which creates
     standing, even though no injury would exist without the statute.” Linda
     R.S. v. Richard D., 410 U.S. 614, 617 n3 (1973). Indeed, Congress,
     through “the FDCPA[,] permits and encourages parties who have suffered
     no loss to bring civil actions for statutory violations.” Jacobson, supra, 516
     F.3d at 96 (emphasis added).

            20.MALLORY seeks statutory damages, attorney fees, and costs
     pursuant to the FDCPA.

                                       V.   FACTS

            21.Sometime prior to April 4, 2012, MALLORY is alleged to have
     incurred a financial obligation (“Debt”) to “Citibank” in connection with
     a Sunoco gasoline card.

              The Debt is alleged to arise from one or more transactions using
            22.
     the Sunoco gasoline card and that those transactions were primarily for
     MALLORY’s personal, family, or household purposes.

            23.   OXFORD is regularly engaged in the collection of debts.

            24. The principal purpose of OXFORD is the collection of debts and
     it uses the mails, telephone, the internet and other instruments of
     interstate commerce.

            25.   OXFORD contends that the Debt is in default.

            26.The Debt was placed with, obtained by or assigned to OXFORD
     for the purpose of collecting or attempting to collect the Debt.

           27. The Debt was in default or alleged to be in default at the time it
     was placed with, obtained by or assigned to OXFORD.

            28. In an attempt to collect the Debt, OXFORD sent MALLORY a
     letter dated April 4, 2012 (“LETTER”).

            29.   A copy of the LETTER is attached as Exhibit 1.

            30.   The LETTER is on the letterhead of “Oxford Law, LLC”.



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           31. The LETTER states, in part, “This office represents the above
     named client, PINNACLE CREDIT SERVICES, LLC, who has placed the
     above-styled matter for collection.”

           32. The LETTER explains that “full payment” is demanded for the
     reason that “you have had ample time to pay your debt.”

           33.   The LETTER is signed by “Oxford Law, LLC.”

           34. The LETTER represents or implies that a lawyer has reviewed
     the file, made appropriate inquiry, and has exercised professional
     judgment in connection with sending the LETTER.

           35.  The LETTER falsely implies that the collection of the Debt has
     been escalated by the hiring of a law firm to take the steps which lawyers
     take to collect the account.

            36. Unknown to the least sophisticated consumer receiving the
     LETTER, OXFORD sent the LETTER and letters in similar form to other
     consumers in its capacity as a debt collector only and not as a lawyer or
     law firm providing the legal services for which Oxford’s lawyers are
     licensed to provide.

           37.The LETTER’s inclusion of the sentence, “At this time, no
     attorney with this firm has personally reviewed the particular
     circumstances of your account,” does not effectively ameliorate the
     LETTER’s impression of attorney involvement.

                 VI.   CAUSE OF ACTION FOR VIOLATIONS OF THE FDCPA

            38. MALLORY realleges and incorporates by reference             the
     allegations in the preceding paragraphs of this Complaint.

           39.   MALLORY is a “consumer” under 15 U.S.C. § 1692a(3).

           40.   OXFORD is a “debt collector” under 15 U.S.C. § 1692a(6).

           41.   The Debt is a “debt” under 15 U.S.C. §1692a(5).

           42.   The LETTER is a “communication” under 15 U.S.C. § 1692a(2).

           43.  The LETTER was sent by OXFORD to MALLORY in an attempt
     to collect the Debt.

           44.   OXFORD’s use of the written communication in the form


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     attached as Exhibit 1 violated the FDCPA in one or more of the following
     ways:

           44.01.   Using false, deceptive, or misleading representations and/or
                    means in connection with the collection of any debt, which
                    constitutes a violation of 15 U.S.C. §1692e;

           44.02.   Using a written communication which creates a false
                    impression as to its source, authorization, or approval in
                    violation of 15 U.S.C. §1692e(9); and

           44.03.   Using a false representation and/or deceptive means to
                    collect or attempt to collect any debt or to obtain
                    information concerning a consumer in violation of 15 U.S.C.
                    § 1692e(10).

          45. Based on any one of those violations, OXFORD is liable to
     MALLORY for statutory damages, attorney’s fees and costs.

                                VII. PRAYER FOR RELIEF

           46. WHEREFORE, Plaintiff, Ira Mallory, respectfully requests that
     the Court enter judgment against Defendant, Oxford Law, LLC, as follows:

           46.01.   An award of statutory damages for MALLORY pursuant to
                    15 U.S.C. § 1692k(a)(2)(A);

           46.02.   Attorney’s fees, litigation expenses, and costs pursuant to 15
                    U.S.C. § 1692k(a)(3); and

           46.03.   For such other and further relief as may be just and proper.

                 VIII. CERTIFICATION PURSUANT TO LOCAL CIVIL RULE

           47. Pursuant to L. Civ. R. 11.2, I hereby certify to the best of my
     knowledge that the matter in controversy is not the subject of any other
     action pending in any court or the subject of a pending arbitration
     proceeding, nor is any other action or arbitration proceeding
     contemplated. I further certify that I know of no party, other than
     putative class members, who should be joined in the action at this time.

                                       Philip D. Stern & Associates, LLC
                                       Attorneys for Plaintiff, Ira Mallory
                                                    s/Philip D. Stern
     Dated: April 3, 2013                            Philip D. Stern


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                                EXHIBIT 1




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